944 F.2d 900
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Denrick Eric BROWN, Plaintiff-Appellant,v.Toni V. BAIR, David William, Warden, Randall Kuhelski, JoeEmonds, Defendants-Appellees.
    No. 91-7099.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1991.Decided Sept. 23, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Claude M. Hilton, District Judge.  (CA-90-755-A)
      Denrick Eric Brown, appellant pro se.
      Jeanette Dian Rogers, Office of the Attorney General of Virginia, Richmond, Va.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, WILKINSON and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Denrick Eric Brown appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Brown v. Bair, CA-90-755-A (E.D.Va. Apr. 15, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    